Case 4!14-cv-00156-RGD-TEM Document 7 Filed 12/03/14 Page 1 of 4 PagelD# 36

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
(Newport News Division)
LARRY D. REESE
Plaintiff,
Vv. Civil Action No.: 4:14¢ev156

J.C, PENNEY COMPANY, INC., et al.

Defendants.

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DEFENDANT WINTER CONSTRUCTION COMPANY’S
ANSWER TO PLAINTIFF’S COMPLAINT

COMES NOW Defendant Winter Construction Company (“Defendant”), by and
through counsel, Bonner Kiernan Trebach & Crociata LLP, and in response to the allegations
contained in Plaintiff's Complaint, Defendant states the following:

Il. Defendant does not have sufficient information or knowledge with which to
respond to the allegations contained in paragraphs 1, 2 and 4 of Plaintiff's Complaint and,
therefore, denies same and demands strict proof thereof.

Dy. The allegations contained in paragraphs 5, 6, 7 and 8 of Plaintiff's Complaint
contain legal conclusions and/or opinions, for which no responses are deemed to be required.
However, to the extent that responses are required by the court, Defendant does not have
sufficient information or knowledge with which to respond thereto and, therefore, denies
same and demands strict proof thereof.

3, Defendant denies the allegations contained in paragraphs 3, 9, 10, 11, 12, 13,
14, 15, 16, 18, 19, 20, 21, 22, 23 and 24 of Plaintiff's Complaint and demands strict proof

thereof.
Case 4{14-cv-00156-RGD-TEM Document7 Filed 12/03/14 Page 2 of 4 PagelD# 37

4. The allegations contained in paragraph 17 of Plaintiff's Complaint contain
legal conclusions and/or opinions, for which no responses are deemed to be required.
However, to the extent that responses are required by the court, Defendant denies same, as
phrased, and demands strict proof thereof.

» Defendant denies that it is indebted to Plaintiff in the amount of $100,000.00
or in any amount.

6. Any allegation that is not specifically admitted, is hereby denied.

DEFENSES AND AFFIRMATIVE DEFENSE

7. Defendant was not negligent.
8. Defendant was not in breach of any such duty to Plaintiff.
9. Plaintiffs claims are barred by his own contributory negligence and/or

assumption of the risk.

10. Plaintiff failed to take due and appropriate care in the mitigation of his alleged
injuries and damages.

11. Plaintiffs alleged damages were proximately caused by breaches, act(s) of
commission or omission of others and/or over which Defendant exercised no control or right
to control, and/or which act(s) intervened between and/or superseded Defendant’s alleged
breaches and/or acts and Plaintiff's alleged injuries and damages, thereby barring Plaintiff
from any recovery from Defendant.

12. Some or all of Plaintiff's claimed damages were attributable to causes other
than the incident complained of and must therefore be apportioned to such other causes

accordingly.

2 304058-1
Case 4

14-cv-00156-RGD-TEM Document7 Filed 12/03/14 Page 3 of 4 PagelD# 38

13. Plaintiff's alleged injuries and damages are not casually related to the events
alleged in the Complaint.

14, Defendant was neither on notice of any such alleged dangerous and/or
hazardous condition nor did Defendant have any opportunity and/or sufficient time to resolve,
correct and/or remove any such alleged dangerous and/or hazardous condition.

15, Defendant further pleads the statute of limitations and/or worker’s comp bar to
the extent such defenses are applicable.

16. To the extent that Plaintiff has filed for bankruptcy, he may not be the proper
Plaintiff and/or have standing in this action.

17. Any allegation that is not specifically admitted, is hereby denied.

18. Defendant reserves the right to assert other defenses as discovery (or at trial) in
this case disclose a basis therefore.

WHEREFORE, Defendant Winter Construction Company, by counsel, prays that this
Honorable Court dismiss the Complaint filed by the Plaintiff and enter judgment in its favor,
allowing all costs expended on its behalf.

Respectfully Submitted,

BONNER KIERNAN TREBACH & CROCIATA, LLP

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3 304058-1
Case 4:14-cv-00156-RGD-TEM Document7 Filed 12/03/14 Page 4 of 4 PagelD# 39

CERTIFICATE OF SERVICE

I hereby certify that on this 3" day of December, 2014, a copy of the foregoing
Answer was served via ECF and/or first class mail, postage prepaid, on:

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4 304058-1
